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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ROBERT ROSS,                                       Case No. 19-cv-06669-JST
                                                        Plaintiff,
                                   8
                                                 v.                                         ORDER REFERRING ALL
                                   9                                                        DISCOVERY DISPUTES TO
                                         AT&T MOBILITY, LLC,                                MAGISTRATE JUDGE
                                  10
                                                        Defendant.                          Re: ECF No. 49
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                                  12          Discovery disputes in this case are referred to a magistrate judge. The magistrate judge to
Northern District of California
 United States District Court




                                  13   whom the matter is assigned will advise the parties of how that judge intends to proceed. The

                                  14   magistrate judge may issue a ruling, order more formal briefing, or set a telephone conference or a

                                  15   hearing. After a magistrate judge has been assigned, all further discovery matters shall be filed

                                  16   pursuant to that judge’s procedures.

                                  17          IT IS SO ORDERED.

                                  18   Dated: June 1, 2020
                                                                                       ______________________________________
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                                                                                                     JON S. TIGAR
                                  20                                                           United States District Judge

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